              Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 1 of 14




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11
      Attorneysfog Defendant Michael Lacey
12
                               IN THE UNITED STATES DISTRICT COURT
13                                 FOR THE DISTRICT OF ARIZONA

14-
      United States of America,                       NO.CR-18-00422-PHX-SPL(BSB)
15

16
                          Plaintiff,                  DEFENDANT LACEY'S
      vs.                                             MOTION FOR DISCLOSURE OF
17                                                    DOCUMENTS RELATED TO CARL
      Michael Lacey, et al.,                          FERRER'S VdAIVER OF PRIVILEGE AS
18
                                                      MATERIAL TO DISQUALIFICATION
19                     Defendants.
                                                     (Oral argument requested)
20

21

22           Defendant Michael Lacey,by and through his undersigned attorney, hereby moves under

23    Rule 16 ofthe Federal Rules of Crinunal Procedure for an order compelling the government to

24    produce all documents pertaining to Carl Ferrer's waiver ofthe attorney-client and work-product

25    privileges as material to resolution ofthe Government's Motion to Disqualify(Doc. 118), which

26    is pending before this Court. The record on disqualification is incomplete because defendants

27    and this Court lack material information to determine whether disqualification is necessary;

28
             Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 2 of 14




 1   namely,the extent to which Mr.Fearer has waived privilege. The government's disclosures thus
 2 far indicate that Mr. Ferrer has waived privilege as to all communications for which he, alone,
 3   can unilaterally waive by virtue of being the sole privilege holder. Further, the government has
 4   indicated that it possesses additional documents material to a determination on the scope and
 5   extent of Mr. Ferrer's waiver, which should be disclosed as vital to protection of Mr. Lacey's
 6   Sixth Amendment right to counsel of choice. Because a combination of the government's
 7   disclosures and statements makes it unclear whether any ofMr.Ferrer's corrui7unications remain
 8   subject to privilege at this time, discovery on this issue is essential to Mr. Lacey's ability to
 9   exercise his Sixth Amendment right to counsel ofchoice.
10          It is expected that excludable delay under 18 U.S.C. § 3161(h)(1)(D) will occur as
11   a result of this motion or an order based thereon, as explained more fully below.
12
            RESPECTFULLY SUBNIITTED this 28th day ofJune,2018,
13
14                                       /s/     Paul.7. Cambria Jr.
15                                               LIl'SITZ GREEN SCIlVIE CAMBRIA LLP
                                                 Attorneys for Defendant Michael Lacey
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              Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 3 of 14




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            Defendant Michael Lacey respectfully moves this Court for an order compelling the
 3
     government to disclose all documents pertaining to Carl Ferrer's waiver ofattorney-client privilege
 4
     in his personal capacity and in his official capacity as Chief Executive Officer of Backpage.com,
 5
     LLC ("Backpage") with respect to all of his former counsel, as well as all documents evidencing
 6
     waiver of attorney-work product privilege. As set forth in greater detail below, this discovery is
 7
     material to this Court's deternlination of the Government's Motion to Disqualify Davis Wright
 8
     Tremaine LLP ("DWT") and Henze Cook Murphy PLLC ("HCM")(Doc. 118), in which the
 9
     governrnnment has sought to interfere with Mr. Lacey's Sixth Amendment right to counsel ofchoice.
10
     Because disqualification is subject to potential abuse,and must be reviewed under"particularly strict
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     judicial scnttiny," Optyl Eyewea~ Fashion Intl Corp. v. Style Cos., Ltd., 760 F.2d 1045, 1050(9th
12
     Cir. 1985), a deternlination of disqualification without a complete record nuts the risk of violating
13
     Mr. Lacey's constitutional right to counsel ofchoice for this prosecution.
14
15   I.     The record on disqualification is incomplete because defendants and this Court lack
16          material information to determine whether disqualification is necessary.

17          Shortly after the government indicted Mr. Lacey and his co-defendants;the government

18   informed defense counsel fliat it intended to move to disqualify DWT and HCM from any further

19   representation of Mr. Lacey in this prosecution. According to the government, Mr. Ferrer was a
    ormer client of those fim~s and because he pleaded guilty, entered a guilty plea on behalf of
20 f
21 Backpage.com, LLC(`Backpage"), and intended to testify as a government witness at trial, DWT
22   and HCM could not continue their representation of Mr. Lacey because there was the potential that

23   they would use privileged information to Mr.Ferrer's detriment in violation ofRule 1.9.

24          A primary question, pivotal to resolution ofthe government's theory of disqualification, is

25   whether any ofthe communications between Mr.Ferrer and his former counsel remained protected

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              Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 4 of 14




 1   under the attorney-client orwork-product privileges.l Defense counsel knew that Mr.Ferrer and his
 2   counsel had communicated with the government about his plea, and believed that Mr. Ferrer on his
 3   own, or though counsel, might have waived privilege through communications with the
 4   government. Consequently, on May 1, 2018, Michael L. Piccarreta requested that the government
 5   produce several categories ofdocuments relevant to the potential waiver ofprivilege by Mr. Ferrer.
 6 (A true and correct copy ofthe May 1,2018 Piccarreta Letter is attached hereto as Ex. A.)
 7          On May 14, 2018, the government responded to defense counsel's discovery request,
 8   declining to produce fl1e requested documents because the relevance of those documents to
 9   disqualification was "unclear" to the government. (A true and correct copy of the Government's
10   May 14, 2018 Response is attached hereto as Ex. B.) However,the government provided defense
11   counsel with one document attached to its response—a copy of Mr. Ferrer's Proffer/Interview
12   Agreement. (A true and correct copy ofthe Proffer/Interview Agreement is attached hereto as Ex.
13   C.) Notably,file Proffer/Interview Agreernentstatedthat Mr.Ferrer"voluntarily waived]all claims
14   of attorney-client privilege, whether in his personal or official capacity as Chief Executive Officer
15   of Backpage.com, LLC as to communications with any attorney or law firm that represented
16   Backpage.coin, or any related entity, where such communications concerned or related to
17   Backpage.com or any related entity" except with respect to his cwrent counsel,"Nand Clarence,
18   Jonathan Baum and anyone working on their behalf." (Id. ¶ 2.) Further, Mr. Ferrer "voluntarily
19   agreed]to provide all documents and other material that may be relevant to the investigation." (Id.)
20          Ftu-ther, in response to a different letter from defense colulsel, the government disclosed a
21   Waiver ofAttorney Client Privilege signed by Mr.Ferrer on April 5,2018,in which he purported to
22   waive "all aspects ofattorney-client privilege" on behalfofBackpage(and related entities) and with
23   respect to "communications,; documents and infomlation that" Mr.Ferrer or Backpage(and related
24   entities) "have provided to law enforcement or which law enforcement may already have in its
25
     1       Arizona E.R. 1.9 is solely "for the protection of clients." Ariz. Ethics Op. 91-05. In
26   particular, the Arizona State Bar has opined that "[t]he duty of confidentiality is the only duty
     owed by an attorney to a former client." Ariz. Ethics Op. 92-03(emphasis added). Consequently,
27   disqualification is unnecessary when "confidential information ... is not in jeopardy." Id.
28                                                    G~
              Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 5 of 14




     possession from other sources."(A true and correct copy ofthe Waiver ofAttorney Client Privilege
 2   is attached hereto as Ex. D.)2 He pwported to waive privilege with respect to communications
 3   related to file "adult" advertisement sections ofthe Backpage website, communications concerning
 4 Backpage's finances, and communications concerning the relationships between Backpage and its
 5   related entities and the owners and former owners ofthose companies. (See id.) The waiver further
 6   stated that it applied to "all communications" between counsel and Backpage(and related entities)
 7 "at any time" and "all documents generated through their representation." (See id.) It also indicated
 8   that it did not extend to "any aspect of[his] personal attorney-client relationship with attorneys who
 9   have represented me in the past or who currently represent me in an individual capacity."3
10           Finally, defense counsel obtained copies of the plea agreements Mr. Ferrer executed in
11   criminal prosecutions pending in courts in the States ofCalifornia and Texas. In the California Plea
12   Agreement, Mr. Ferrer agreed "to cooperate with the investigation ... by making hunself available
13   to the Attorney General's Office to assist in the investigation and prosecution, ttut~ifully recalling
14   and relating information regarding the case[and]providing ttuthfi~l testimony." (A true and correct
15   copy of the California Plea Agreement is attached hereto as Ex. E.) In the Texas Piea Bargain
16   Agreement, Mr. Ferrer promised to "give full, complete, and truthful evidence concerning my
17   knowledge ofany and all offenses committed by any and all co-defendants" and was granted "`use
18   immunity' as to any statements made by him ... to Texas authorities." (A true and correct copy of
19   the Texas Plea Bargain Agreement is attached hereto as Ex. F.) Moreover, he promised to
20 "additionally give sworn written or recorded stateinent(s) detailing any additional facts if that is
21
22 z       Critically, Mr. Lacey does not concede that Mr. Ferrer's waivers entitle the government to
   access all communications with Backpage's counsel, as those communications are the subject of
23 joint privileges to which Mr. Lacey and Mr. Larkin (and the entities in which they hold ownership
   interests) are parties. Mr. Lacey and Mr. Larkin have notified the government about this concern.
24
25 3       This disclaimer stands in contrast with the waiver he effected in the Proffer/Interview
   Agreement, in which he waived privilege "in his personal or official capacity." (Ex. C(emphasis
26 added).} This confusion on the extent of his personal waiver underscores the need for review of
   the statements he has actually made to the government because statements, alone, can constitute a
27 waiver, notwithstanding aformer reservation in a written waiver.
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              Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 6 of 14




 1   requested by an attorney for Texas or California or federal Assistant U.S. Atttorney." (See id.) These
 2   documents, too, indicate that Mr. Ferrer may have revealed privileged. information through
 3   statements made to prosecutors or law enforcement officers in California or Texas.
 4           In light of these disclosures, defense counsel continued to press the government for
 5   disclosure of all documents related to Mr. Ferrer's waiver ofthe attorney-client and attorney-work-
 6   product privileges because, if none of the communications between Mr. Ferrer and his former
 7   counsel were subject to those privileges any longer,the government's proposed motion to disqualify
 8   would be baseless. However, the government refused to provide any fiu-ther discovery into Mr.
 9   Ferrer's waiver ofthose privileges.
10           On May 25, 2018, the government moved for disqualification of DWT and HCM on the
11   basis that DWT and HCM's continued representation of Mr. Lacey constituted a violation of Mr.
12   Ferrer's rights under E.R. Rule 1.9 because there was a risk that the firms would use privileged
13   information obtained from Mr.Ferrer to his detriment,particularly during cross-exau~lation ofhim
14   at trial. (See Doc. 118.) Although the parties have submitted legal memoranda to the Court on flus
15   issue,the record before this Court is incomplete. The government's motion to disqualify is founded
16   on the alleged hann to Mr.Ferrer's interests ifhis former counsel were to use privileged information
17   to his detriment in this prosecution as part oftheir representation of Mr. Lacey in this prosecution.
18 (See id.) Before this Court can make that determination, a more primary determination must be
19   made, namely, whether there ren~auls any information subject to the attorney-client and work-
20   product privileges at this trine or whether Mr. Ferrer has waived all such privileges through his
21   disclosures to the government and non-attorney third parties.
22          Additionally, discovery on this issue is relevant and material to this Court's resolution ofthe
23   Government's Motion to Resolve Attorney-Client Privilege Issues(Doc. 195). In that motion,the
24   government contends that it should have access to documents withheld by the filter team as protected
25   from government review on the basis ofprivilege because Mr.Ferrer "executed a written waiver of
26   the corporate attorney-client privilege possessed by Backpage and related entities" which "obviates
27 the need for the continued segregation ofthe withheld communications." (See id. at 2.) Critically,
28                                                    D
              Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 7 of 14




      as will be set forth in greater detail in defendants' opposition to this motion, Mr. Ferrer was not the
 2    sole privilege holder for Backpage and he lacked the authority to unilaterally waive privilege on
 3    behalfofBackpage and related entities. Any documents indicative offlee extent to which Mr.Ferrer
 4    purported to waive privilege on behalfof Backpage and related entities is essential to resolution of
 5    this motion(in addition to resolution ofthe Government's Motion to Disqualify).
 6
      II.    The government must disclose all documents relevant to Mr.Ferrer's waivers to allow
 7
             defendants (and this Court) to determine whether any of Mr. Ferrer's
 8           communications remain subject to privilege, without which, disqualification under
             E.R 1.9 is unnecessary.
 9
             Rule 16 ofthe Federal Rules ofCiui~uial Procedure("Rule 16"),"grants cri~l~ulal defendants
10
      a broad right to discovery." United States v. Stever, 603 F.3d 747, 752 (9th Cir. 2010). The
11
      government must disclose"documents... within the government's possession...[that are] material
12
      to preparing the defense." Fed. R. Crim.P. 16(a)(1)(E)(i). A defendant establishes materiality when
13
      the defendant presents "facts which would tend to show that the Government is in possession of
14
      information helpful to the defense." Stever,603 Fad at 752;Stickler a Greene,527 U.S. 263,280
15
     ("[E]vidence is material if there is a reasonable probability that, had the evidence been
16
      disclosed to the defense,the result ofthe proceeding would have been different."(quotations
17
      omitted)). In addition to Rule 16, courts have the inherent authority to order discovery that is
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     necessary for an effective defense. See United States v. W.R. Grace, 526 F.3d 499, 509-511
19
     (9th Cir. 2008)(affirming order compelling the government to produce its witness list one-
20
      year in advance of trial in a complex matter because district courts "have inherent power
21
     to control their dockets").
22
             Here, a deternlination on the extent to which Mr. Ferrer has waived privilege is not just
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     material to the defense, but is pivotal to this Court's analysis of the Government's Motion to
24
     Disqualify. Documents necessary to protect Mr. Lacey's Sixth Amendment right to counsel of
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     choice are obviously material to preparing his defense. See United States v. Soto-Zuniga,837 F.3d
26
     992, 1000-02(9th Cir. 2016)(recognizing that evidence necessary to support a suppression motion
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                Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 8 of 14



 1     to protect Fourth Amendment rights is discoverable under Rule 16(a)(1)(E) and places the district
 2     court"in a superior position to assess and decide the motion to suppress"). The discovery sought by
 3     this motion will enable Mr. Lacey (and this Court) to deterniine whether the government can
 4     establish the "extreme circumstances" requisite for disqualification of DWT and HCM, see
 5     Alexander v. Sup. Ct.,141 Ariz. 157,161(1984), which the government will fail to establish ifnone
 6     ofMr.Ferrer's communications remain subject to privilege at this time.
 7
              A.      The government's disclosures sugest that Mr.Ferrer has waived privilege as
 8
                      to all communications for which he, alone, can unilaterally waive by virh~e of
 9                    being the sole privilege holder.

10            The government's disclosures thus far undermine the government's claim that privileged

11     information is at risk for potential misuse. To claim that privileged communications exist, the party

12     invoking the privilege, here,the government purportedly on behalfof Mr.Ferrer, must demonstrate

13     that information subject to protection under the attorney-client privilege exists. See In ~e

14     Grand Jury Subpoenas, 803 F.2d 493, 496 (9th Cir. 1986)("The burden is on the party

15     asserting the attorney-client privilege to demonstrate how the information sought fits

16     within it."). "One of the elements that the asserting party must prove is that it has not

17     waived the privilege." Weil v. Investment/Indicators, Research & Mgmt., Inc. 647 F.2d 18, 25

18 (9th Cir. 1981)(emphasis added). The Proffer/Interview Agreement and the Waiver ofAttomey
19     Client Privilege suggest that Mr.Ferrer has waived privilege as to all communications wifll any legal

20     counsel for which he was the sole privilege holder.4

21            Further, clients cannot disclose privileged communications or documents to the government

22     or third parties and then continue to assert that those communications or documents are privileged

23     as to other parties. The Ninth Circuit has resoundingly rejected the theory of"selective waiver" of

24 4       The government contends that none of the communications between Backpage and its
25 former  counsel remain subject to privilege at this dine, because Mr. Ferrer has waived privilege
   with respect to all such communications. (See Gov't's Mot. to Resolve Attorney-Client Privilege
26 Issues, Doc. 195.) The government is wrong and fails to understand that Mr. Ferrer lacked the
   authority to unilaterally waive privilege on behalfofBackpage, as will be set forth in greater detail
27 in Defendants opposition.
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              Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 9 of 14




 1   the attorney-client privilege. Instead, when a client discloses privileged colTununications or
 2   documents to the Federal government, the client has waived the privilege as to those disclosed
 3   communications or documents "as to the world at large." In re Pacific Pictures Corp., 679 F.3d
 4   1121, 1127-30(9th Cir. 2012)("Given that Congress has declined broadly to adopt a new privilege
 5   to protect disclosures of attorney-client privileged materials to the government, we will not do so
 6   here.");Bittaker a WoodfoNd,331 F.3d 715,720(9th Cir.2003)(recognizing that"once documents
 7   have been turned over to another party voluntarily, the privilege is gone, and the litigant
 8   may not thereafter reassert"); Ringelber^b v. Vanguardlnte~ilyProfessionalsNevada,Inc.,2018
 9   WL 555694,at *5(D. Nev.Jan. 24,2018)("[A] party may not selectively waive the attorney-client
10   privilege.... [V]oluntary disclosure to one waives the attorney-client privilege as to the world at
11   large."). Indeed, as one court explained, "[h]a~ing lowered the shield to foster an amicable
12   relationship with the government, [the privilege holder]'s attorneys may not then raise it against
13   parties injured by their disclosures." United States v. Reyes,239 F.R.D. 591,603(N.D. Ca1.2006)
14 (rejecting "selective waiver" claim).
15           Moreover,"[e]ven when a party does not explicitly disclose the content ofan attorney-client
16   communication, he may waive the privilege implicitly." United States v. Outland, 109 F.3d 539,
17   543 (9th Cir. 1997). Indeed, "[t]he privilege which protects attorney-client communications may
18   not be used both as a sword and a shield. Where a party raises a claim which infairness requires
19   disclosure of the protected communication, the privilege may be implicitly waived." Id. (quoting
20   Chevron Corp. a Pennzoil Co.,974 F.2d 1156, 1162(9th Cir. 1992))(emphasis in original).
21          Finally, the "attorney work-product privilege is not absolute and may be waived, for
22   example, when an attorney ...reveals it to an adversary." Reyes,239 F.R.D. 591, 598(N.D. Ca1.
23   2006);Hernandez a Tanninen,604 F.3d 1095, 1100(9th Cir. 2010)(recognizing that the attorney-
24   workproduct privilege is waivable and finding that disclosure ofprotected work product to a third-
25   partyconstituted waiver ofthe privilege as to that disclosure).
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28                                                    J
             Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 10 of 14




 1          Thus,the disclosures the government has provided to defendants suggest that Mr.Ferrer has
 2   waived privilege to the extent he had the authority to waive privilege. His waivers suggest that there
 3   is no opportunity for misuse ofprivileged information because none exists.
 4
            B.      The government has indicated that it possesses additional documents material
 5
                    to a determination on the scope and extent ofMr.Ferrer's waiver,which should
 6                  be disclosed as vital to protection of Mr.Lacey's Sixth Amendment rights.

 7           Central to this motion,the government has indicated that its disclosure of discovery on the
     scope ofMr.Ferrer's waivers is incomplete. For example,the government alluded to a"cooperation

 9   addendum to Mr. Ferrer's plea agreement," which it has declined to provide the defense on the

10   ground that it is subject to a sealing order. (See Ex. B. at 2.) This document would assist this Court

11   to reach a fair and correct resolution on the Government's Motion to Disqualify because it indicates

12   the extent ofMr.Ferrer's waivers ofprivilege.

13          Additionally, disclosure of any documents suininarizing statements Mr. Ferrer made to the

14   government or third parties is material to determining the extent to which Mr. Ferrer has waived

15   communications in his personal capacity during proffer sessions with the government. Mr.Ferrer's

16   statements are material because the privilege can be waived through statements, alone. "It makes no

17   difFerence whether aprivilege-holder copies a written text, reads from a written text, or describes a

18   written text to an outside party. The purpose and effect is the same in all cases; the transmission of

19   privilege information is what matters, not the medium through which it is conveyed." Reyes,239

20 F.R.D. at 604 (concluding that attorney-client and work-product privileges were waived by
21   voluntary disclosures to the government).

22          'The terms ofthe California Plea Agreement and the Texas Plea Bargain Agreement suggest

23   that Mr.Ferrer has made statements to law enforcement officers and prosecutors in those states(see

24   Exs. E,F), which may have involved revelation ofprivileged information.

25          Defendants have asserted that the language of the Proffer/Interview Agreement on Mr.

26   Ferrer's waiver is clear. Mr. Ferrer agreed to waive privilege as to all communications "in his

27   personal or official capacity'as C.E.O. ofBackpage. (Ex.C.~ 2.) However,the goverrunent insists

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             Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 11 of 14




 1   that this waiver was limited to Mr. Ferrer's official capacity as C.E.O. of Backpage (see Gov't's
 2   Repl. Mem.on Mot.to Disq.HCM,Doc.192 at 8),and that,even ifthe Proffer/Interview Agreement
 3   could be interpreted as effecting a waiver ofconununications made in his personal capacity,"[t]his
 4   topic has never been broached during Ferrer's proffer sessions[and][a]ccordingly,nothing has been
 5   waived" (see id.). Neither Mr. Lacey nor ttus Court is required to accept the government's
 6   description ofthe scope ofthe waiver that has been effected. "Our system ofcriminaljustice relies
     on an adversary system to help ensure t11at justice will be done." Soto-Zuniga, 837 F.3d at 1000
 8 (reversing conviction because district court denied discovery on a suppression motion thereby
 9   making its decision on suppression while "blindfolded, considering only one version of the
10   evidence"). As a matter of fundamental fairness, Mr. Lacey should be given discovery on all
11   statements Mr. Ferrer made to the government and documents provided to determine whether any
12   of his communications remain subject privilege such that DWT and HCM,counsel of choice for
13   Mr. Lacey, must be disqualified under E.R. 1.9. Discovery should not be withheld when a
14   defendant's constitutional rights are implicated.
15          Further,the governmentprovided this Court with a declaration from Mr.Ferrer in connection
16   with its Reply on its Motion to Disqualify which underscores the need for discovery on Mr.Ferrer's
17   statements to the government. (See Ferrer Decl.,Doc.193-9.) In that declaration, Mr.Ferrer asserted
18   that both DWT and HCM represented him in hispersonalcapacity in addition to his official capacity
19   as a representative ofBackpage. (See id.)5 Mr.Lacey has disputed the claim that DWT represented
20   Mr. Ferrer personally (see Defs.' Opp'n to Gov't's Mot. to Disq., Doc. 180 at 3-8), and intends to
21   oppose the goverrunent's contention that Mr.Ferrer had the authority to unilaterally waive privilege
22   on behalf of Backpage and related entities for all time. However, regardless of whether DWT
23   represented Mr.Ferrer solely in his official capacity as a representative ofBackpage or additionally,
24   in his personal capacity as Mr. Ferrer claims, there can be no objective resolution of the extent of
25
    5       As Mr. Lacey has explained, DWT represented Mr. Ferrer nominally, as a named
26 representative of Backpage, and as part of a combined representation of multiple parties pursuant
    to ajoint defense agreement, with each party having his own personal counsel distinct from DWT.
27 (See Defs.' Opp'n to the Gov't's Mot. to Disq., Doc. 180 at 3-8.)
28                                                       11
             Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 12 of 14




 1   Mr. Ferrer's waiver without review of the doclunents which memorialize his statements to the
 2   government. The government has indicated "that Mr. Ferrer made statements that impact the
 3   determination ofthe extent of his waiver, and Mr. Lacey should have access to them to thoroughly
4    and effectively protect his Sixth Amendment right to counsel ofchoice.
 5          Based on the foregoing, the extent of Mr.Ferrer's waivers needs to be determined. Certain
6    documents suggest that he waived privilege as to all attorney-client communications(see Exs. C,D)
 7   and has made statements to law enforcement officers or prosecutors (see Exs. E, F); however, the
 8   government claims that the waiver is much more limited, and does not involve any information
 9   conveyed by Mr. Ferrer in his personal capacity, and that Mr. Lacey and his co-defendants should
10   take the government's word for it that nothing further has been disclosed during Mr.Ferrer's proffer
11   sessions. To the contrary,the discovery sought in this motion is material to whether the government
12   has metits heavy burden in seeking disqualification and the defense is not bound bythe prosecution's
13   claims as to the scope ofMr. Ferrer's waivers.
14          For all these reasons, Mr. Lacey respectfully requests an order from this Court compelling
15   the government to produce the following categories ofdocuments to defendants:
16
        • All documents evidencing corrllnunications with the U.S. Attorney's Office for the District
17
          of Arizona ("USAO") or any government authorities or third parties concerning legal
18        representation of Backpage and its related entities disclosed by Mr. Ferrer, his counsel, or
          any other representative of Mr. Ferrer,including but not limited to FD-302 Foams;
19
20      • All documents including engagement letters, common interest or joint defense agreements
          or related communications among counsel,parties or others related tojoint representation or
21        defense of Backpage and its related entities fllat Mr. Ferrer, his counsel, ar any other
          representative ofMr.Ferrer provided to, disclosed or referenced in communications with the
22
          government;
23
24      • All notes or reports or transcripts of Mr. Ferrer's discussions with any third party, including
          all government agents.
25
26
        • All documents evidencing communications with the government about letters or other
27        communications sent to counsel, courts or any other parties about representation or putative

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             Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 13 of 14



            conflicts of counsel, including all correspondence Mr. Ferrer, his counsel, or any other
 1
            representative of Mr. Ferrer has sent the government any exchanges of drafts or other
 2          communications about such correspondence; and

 3
        • All documents evidencing the date when Mr. Ferrer, his counsel, or any representative of
 4        Mr. Ferrer first had corrununications with the government related to a possible cooperation
 5        or with the intention ofexploring possible cooperation.

 6                                            CONCLUSION

 7          Because a combination of the government's disclosures and statements makes it unclear

 8   whether any of Mr. Ferrer's communications remain subject to privilege at this time, discovery on

 9   this issue is material and vital to Mr.Lacey's ability to exercise his Smith Amendmentrightto counsel

10   of choice. Mr. Lacey respectfully requests that this Court order the government to disclose

11   documents that are essential for resolution ofthe Government's Motion to Disqualify.

12
            RESPECTFULLY SUBMITTED this 28th day ofJune,2018,
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14                                         /s/     PaulJ. Cambria J~.
                                                   LIl'SITZ GREEN SCIlVIE CAMBRIA LLP
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                                                   Attorneys for Defendant Michael Lacey
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            Case 2:18-cr-00422-DJH Document 200 Filed 06/28/18 Page 14 of 14




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